                              United States District Court
                            Western District of North Carolina
                                   Charlotte Division

 Deborah Grose,                         )            JUDGMENT IN CASE
                                        )
               Plaintiff,               )              3:24-cv-00049-MR
                                        )
                  vs.                   )
                                        )
 Commissioner of Social Security,       )
                                        )
              Defendant.                )

DECISION BY COURT. This action having come before the Court by Motion and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s June 26, 2024 Order.

                                               June 26, 2024




         Case 3:24-cv-00049-MR Document 10 Filed 06/26/24 Page 1 of 1
